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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


DYNAMIC DATA TECHNOLOGIES, LLC,
                                                      Civil Action No._________
                      Plaintiff,
              v.                                      JURY TRIAL DEMANDED

MAXLINEAR, INC., AMINO
TECHNOLOGIES (US) LLC, AND AMINO
COMMUNICATIONS LLC,

                   Defendants.


                         COMPLAINT FOR PATENT INFRINGEMENT

         Dynamic Data Technologies, LLC (“Dynamic Data”) brings this action and makes the

following allegations of patent infringement relating to U.S. Patent Nos. 6,639,944 (the “’944

Patent”) and 6,760,376 (the “’376 Patent” and collectively, the “Patents-in-Suit”). Defendants

MaxLinear, Inc., Amino Technologies (US) LLC, and Amino Communications LLC (collectively,

the “Defendants”) infringe each of the patents-in-suit in violation of the patent laws of the United

States of America, 35 U.S.C. § 1 et seq.

                                   DYNAMIC DATA’S PATENT PORTFOLIO

         1.     Dynamic Data owns patents issued by the United States Patent and Trademark

Office, including each of the patents-in-suit. Further, Dynamic Data owns patents issued by the

State Intellectual Property Office of the People’s Republic of China,1 the European Patent Office,2




1
    See, e.g., CN100456831, CN1157053, and CN1199448.
2
    See, e.g., European Patent Nos. EP1090502, EP1101354, EP1334613, and EP1393572.


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the German Patent and Trademark Office,3 the Japan Patent Office,4 and many other national

patent offices.

          2.       The patent families of patents-in-suit have been cited in numerous international

patents and patent applications assigned to a wide variety of the largest companies operating in the

field. The patents-in-suit have been cited by companies such as:

                  Samsung Electronics Co., Ltd.5
                  Cisco Systems, Inc.6
                  Avago Technologies7
                  Micron Technology, Inc.8
                  Marvell Technology Group Ltd.9
                  Intel Corporation10
                  Toshiba Corporation11
                  Synaptics, Inc.12
                  Hitachi Ltd.13
                  Sharp Corporation14




3
    See, e.g., German Patent Nos. DE60024389, DE60040517, and DE60126642.
4
     See, e.g., Japanese Patent Nos. JP4053422, JP4242656, JP4398099, and JP4440477.
5
     See, e.g., U.S. Patent Nos. 7,840,096 and 8,638,393.
6
     See, e.g., U.S. Patent No. 7,660,471.
7
     See, e.g., U.S. Patent No. 7,630,566.
8
    See, e.g., U.S. Patent No. 6,987,866.
9
     See, e.g., U.S. Patent Nos. 8,520,771; 8,542,725; 8,565,325; 8,681,893; 8,897,393; 8,902,726;
      8,908,754; 8,942,312; 8,948,216; and 8,953,661.
10
     See, e.g., U.S. Patent No. 8,405,769.
11
     See, e.g., U.S. Patent No. 8,189,104.
12
     See, e.g., U.S. Patent Nos. 8,498,342; 8,761,261; and 8,902,994.
13
     See, e.g., U.S. Patent No. 7,944,504.
14
     See, e.g., U.S. Patent No. 8,736,767.


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                                             THE PARTIES

DYNAMIC DATA TECHNOLOGIES, LLC

           3.       Dynamic Data Technologies, LLC (“Dynamic Data” or “Plaintiff”) is a limited

liability company organized under the laws of Delaware. Dynamic Data carries on the patent

licensing work conducted by the assignees of the patents now owned by Dynamic Data. Dynamic

Data pursues the reasonable royalties owed for Defendants’ use of the inventions claimed in the

patents-in-suit, both here in the United States and throughout the world.


MAXLINEAR, INC., AMINO TECHNOLOGIES (US) LLC, AND AMINO COMMUNICATIONS LLC

           4.       MaxLinear, Inc. is a Delaware corporation with its principal place of business

located at 5966 La Place Court Suite 100, Carlsbad, California 92008. MaxLinear, Inc. may be

served through its registered agent the Corporation Service Company, 251 Little Falls Drive,

Wilmington, Delaware 19808.

           5.       Amino Technologies (US) LLC is a Delaware limited liability company15 with its

principal place of business located at Stevens Creek Boulevard, Suite 400, Cupertino, California

95014.          Amino Technologies (US) LLC may be served through its registered agent The

Corporation Trust Company, Corporation Trust Center 1209 Orange Street, Wilmington,

Delaware 19801.

           6.       Amino Communications LLC is a Delaware limited liability company.16 Amino

Communications LLC may be served through its registered agent Universal Registered Agents,

Inc., 12 Timber Creek Lane, Newark Delaware 19711. Amino Communications LLC owns the




15
     AMINO TECHNOLOGIES ANNUAL REPORT 2018 at 82 (2019)
16
     Id.


                                                   3
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entire share capital of Amino Technologies (US) LLC.17 Amino Communications LLC and Amino

Technologies (US) LLC (collectively, “Amino”) market and sell AminoVU devices in the United

States.

          7.     Amino applied for a grant of equipment authorization from the United States

Federal Communications Commission. Amino has received grants of equipment authorization for

its Aria 6 and Aria 7 devices from the Federal Communications Commission. See XVG50-0102-

RT-22 Grant of Equipment Authorization, FEDERAL COMMUNICATIONS COMMISSION (4/25/2018)

(certificate issued for “model: Aria6/7 of Set top box”); XVG50-0102-BT-00 Grant of Equipment

Authorization, FEDERAL COMMUNICATIONS COMMISSION (4/23/2018) (certificate issued for

“model: Aria6/7 of Set top box”); and XVG50-0102-R4-00 Grant of Equipment Authorization,

FEDERAL COMMUNICATIONS COMMISSION (4/24/2018) (certificate issued for “model: Aria6/7 of

Set top box”).




17
      Amino       Company   Structure,   AMINO     INVESTOR       WEBSITE,      available   at:
https://investor.aminocom.com/about-us/company-structure (last visited October 2019).


                                               4
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Amino grants of equipment authorization from the Federal Communications Commission for the
Aria 6 and Aria 6 devices. (Left to right: XVG50-0102-RT-22 Grant of Equipment Authorization,
FEDERAL COMMUNICATIONS COMMISSION (4/25/2018); XVG50-0102-BT-00 Grant of Equipment
Authorization, FEDERAL COMMUNICATIONS COMMISSION (4/23/2018); and XVG50-0102-R4-00
Grant of Equipment Authorization, FEDERAL COMMUNICATIONS COMMISSION (4/24/2018)).

                                    JURISDICTION AND VENUE

       8.      This action arises under the patent laws of the United States, Title 35 of the United

States Code. Accordingly, this Court has exclusive subject matter jurisdiction over this action

under 28 U.S.C. §§ 1331 and 1338(a).

       9.      This Court has personal jurisdiction over MaxLinear, Inc., Amino Technologies

(US) LLC, and Amino Communications LLC as each is at home in the State of Delaware, where

each is incorporated and has a registered agent for service of process. In addition, Defendants

transact and conduct business in and with residents of the State of Delaware. Dynamic Data’s

causes of action arise, at least in part, from Defendants’ contacts with and activities in the State of

Delaware. Defendants have committed acts of infringement within the State of Delaware by, inter

alia, directly and/or indirectly making, selling, offering for sale, importing, and/or using products



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that infringe one or more claims of the Patents-in-Suit. Defendants, directly and/or through

intermediaries, use, sell, ship, distribute, import into, offer for sale, and/or advertise or otherwise

promote products throughout the United States, including in the State of Delaware.

       10.     Defendants regularly conduct and solicit business in, engage in other persistent

courses of conduct in, and/or derive substantial revenue from goods and services provided to,

residents of the State of Delaware.

       11.     Venue is proper in this district under 28 U.S.C. § 1400(b) and 28 U.S.C. §§

1391(b)(1), (b)(2). For purposes of §1400(b), each Defendant is incorporated in Delaware and/or

formed under the laws of Delaware and therefore resides within this District. For purposes of

§ 1391(b)(1), (b)(2), each Defendant resides in the District of Delaware by virtue of being

incorporated in Delaware and is formed under the laws of Delaware.

                        MAXLINEAR AND AMINO’S SHARED ENTERPRISE

       12.     Joinder of the Defendants is proper under 35 U.S.C. § 299. The allegations of

patent infringement contained herein arise out of the same series of transactions or occurrences

relating to the importing into the United States and/or making, using, selling, or offering for sale

within the United States, the same products accused of infringing the patents-in-suit, including,

MaxLinear Full-Spectrum Capture (FSC) & Narrowband Tuners and Demodulators (e.g., MxL683

Single-Chip, ISDB-T/SBTVD-T Tuner and Demodulator) that are incorporated into the AminoVU

client devices (collectively, the “MaxLinear-Amino Products(s)”).

       13.     MaxLinear’s CEO Kishore Seendripu has identified that MaxLinear’s terrestrial

tuners and demodulators as the driver in the development of set-top boxes such as the accused

MaxLinear-Amino products. “However, the big growth will come through -- the growth will really

be stronger growth in terrestrial set-top boxes, primarily driven by the ISDB-T tuner demodulator




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SoCs, and also some DBT terrestrial tuner de-mod SoCs that they’ve got the major win at

operators.”   MAXLINEAR, INC. EARNINGS CALL TRANSCRIPT Q4 2014 (February 9, 2015)

(transcript prepared by Thomason Reuters).

       14.     MaxLinear is in the business of making, selling, offering to sell, licensing and

distributing full-spectrum capture and narrowband tuners and demodulators that enable operators

to deliver multi-channel and multi-screen services.         The MaxLinear digital tuners and

demodulators support all worldwide terrestrial standards including ATSC/QAM, DVB-T2/T, and

ISDB-T. The MaxLinear digital tuners and demodulators are licensed and distributed for use in

video image up conversion units that use motion compensation to generate an interpolated field

using motion vectors. See MaxLinear’s New Low-Cost USB Dongle Reference Design Brings

Broadcast HDTV to Latin American Consumers, MAXLINEAR PRESS RELEASE (August 14, 2014)

(“brings digital broadcast high-definition (HD) TV to consumers”).

       15.     MaxLinear digital tuners and demodulators are specifically developed, marketed,

licensed and distributed by MaxLinear to be used in set-top boxes such as the AminoVU client

devices. See MAXLINEAR 2018 FORM 10-K at 10 (February 5, 2019) (“We provide our customers

with guidelines, known as reference designs, so that they can efficiently use our products in their

product designs.”).

       16.     MaxLinear has entered into agreements with third parties that require MaxLinear

have approval and control over devices such as the AminoVU client devices that incorporate

MaxLinear’s Full-Spectrum Capture (FSC) & Narrowband Tuners and Demodulators.                  For

example, MaxLinear entered into an agreement with Texas Instruments (the “TI Agreement”) that

covers the MaxLinear tuners and demodulators that are present in the AminoVU client devices.




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The TI Agreement requires MaxLinear to place restrictive conditions on Amino when the

MaxLinear tuners and demodulators are incorporated in the AminoVU client devices.

        The license set forth in this Subsection 2(a) does not include the right to reproduce,
        execute, display, perform, import, sell, distribute and have distributed, or use the
        Licensed Technology apart from a Product and Reference Designs. For the sake of
        clarity, the distribution rights granted in this Section 2(a) shall also apply to source
        code versions of the QAM IP drivers contained in the Licensed Technology.
TEXAS INSTRUMENTS MAXLINEAR INTELLECTUAL PROPERTY LICENSE AGREEMENT at 2
(June 6, 2009) (emphasis added).18

        17.    MaxLinear under the terms of its agreement with Texas Instruments is required to

prohibit Amino from reverse engineering the MaxLinear tuners and demodulators.

        MaxLinear agrees that it will not, nor permit any person or entity to: (i) decompile,
        "unlock," reverse-engineer, disassemble, or otherwise translate the object code
        versions of the Licensed Software to human-perceivable form except as permitted
        by applicable law which cannot be waived by this Subsection 3(b ); (ii) otherwise
        discover or replicate the source code from which such object code may be
        generated; or (iii) except as expressly set forth herein, modify or make derivative
        works of the Licensed Software.
TEXAS INSTRUMENTS MAXLINEAR INTELLECTUAL PROPERTY LICENSE AGREEMENT at 3
(June 6, 2009).

        18.    MaxLinear is liable for directly infringing the Asserted Patents based on forming a

joint enterprise with Amino with respect to building and distributing the MaxLinear-Amino

products, such that to the extent that any infringing steps are performed by Amino, these acts are

attributable to MaxLinear.




18
  The TI Agreement is still in force and was subsequently assigned to Intel Corporation as part of
Intel Corporation’s acquisition of Texas Instrument’s cable modem business. See MAXLINEAR
2016 FORM 10-K at 13 (2017) (“We are a party to a number of license agreements for various
technologies, such as a license agreement with Intel Corporation relating to demodulator
technologies that are licensed specifically for use in our products for cable set-top boxes. The
agreement was originally entered into with Texas Instruments but was subsequently assigned to
Intel Corporation as part of Intel Corporation’s acquisition of Texas Instruments’ cable modem
product line in 2010.”).


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          19.   There are numerous express and implied agreements between MaxLinear and

Amino regarding the MaxLinear-Amino Products. See, e.g., MAXLINEAR, INC. TERMS              AND

CONDITIONS OF SALE AGREEMENT, available at: https://www.maxlinear.com/support/terms-and-

conditions-of-sale (last visited October 2019); MAXLINEAR TERMS OF USE AGREEMENT, available

at: https://www.maxlinear.com/terms-of-use (last visited October 2019); and MAXLINEAR

MASTER SALES AGREEMENTS.19

          20.   MaxLinear has entered into customer and distributor agreements that require

MaxLinear “to indemnify and defend our customers or distributors from third-party infringement

claims and pay damages in the case of adverse rulings.” MAXLINEAR 2016 FORM 10-K at 21

(2017). On information and belief, MaxLinear, based on agreements with Amino, is obligated by

contract to indemnify and defend Amino from third-party infringement claims and to pay damages

should there be an adverse ruling.

          21.   MaxLinear has entered into agreements that provide it control over the MaxLinear-

Amino Product(s). For example, in its financial statements MaxLinear states, “We also rely on

customary contractual protections with our customers, suppliers, distributors, employees and

consultants, and we implement security measures to protect our trade secrets.” MAXLINEAR 2016

FORM 10-K at 22 (2017); see also MAXLINEAR 2018 FORM 10-K at 22 (2019).

          22.   MaxLinear’s relationship with companies such as Amino go beyond simply selling

a device. Because the selection and incorporation process for a tuner is a lengthy one, MaxLinear

works closely with Amino to “define” and “design” MaxLinear products placed in the AminoVU

device.



19
  See, e.g., MAXLINEAR’S 2018 FORM 10-K at 49 (2019) (“Customer purchase orders plus the
underlying master sales agreements.”).


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       Our business depends on winning competitive bid selection processes, known as
       design wins, to develop semiconductors for use in our customers’ products. These
       selection processes are typically lengthy, and as a result, our sales cycles will vary
       based on the specific market served, whether the design win is with an existing or
       a new customer and whether our product being designed in our customer’s device
       is a first generation or subsequent generation product. Our customers’ products can
       be complex and, if our engagement results in a design win, can require significant
       time to define, design and result in volume production.
MAXLINEAR, INC. 2018 FORM 10-K at 48 (February 5, 2019) (emphasis added).

       23.     There is a common purpose between MaxLinear and Amino regarding the

development of the MaxLinear-Amino Products, namely “to deliver multi-channel and multi-

screen services.”20

       24.     MaxLinear and Amino share a community of pecuniary interests in the

development and distribution of the MaxLinear-Amino Products. For example, upon information

and belief, there are indemnification and revenue provisions, as set forth in the agreements between

the two companies. Both MaxLinear and Amino derive financial benefit from the development

and distribution of the MaxLinear-Amino Products.

       25.     Functionality for receiving video data in the form of HEVC encoded data has been

identified by MaxLinear as driving the development of its products.21




20
   MaxLinear FSC & Narrowband Tuners/DEMODs Product Page, MAXLINEAR WEBSITE,
available at: https://www.maxlinear.com/products/connected-home/satellite-and-terrestrial/fsc-
and-narrowband-tuners-demods/terrestrial (last visited November 2019).
21
  MAXLINEAR, INC. AT NEEDHAM GROWTH CONFERENCE TRANSCRIPT (January 13, 2016) (“Adam
Spice: This challenge is not lessening. In fact, it creates even bigger opportunity for MaxLinear as
subscribers now want to consume 4K over-the-top content. So if you look at the bandwidth that
an HD program consumes, a 4K program or HEVC program consumes about four times that
bandwidth. So it's a very good driver for our business.”); see also MAXLINEAR AT THE ROTH
CONFERENCE TRANSCRIPT (March 10, 2014) (“And the satellite guys also need to focus on being
able to deliver this coming wave of HEVC and 4K video. And for that, they need to very robust
front ends with low-power, low cost solutions. And that's what we've been delivering now initially
into the gateway market which started shipping in Q4 of 2013.”).


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       26.     Amino uses the MaxLinear Full-Spectrum Capture (FSC) & Narrowband Tuners

and Demodulators at the direction of MaxLinear. Specifically, MaxLinear provides Amino with

specific directions and reference designs that direct and/or control Amino’s use of the MaxLinear

tuner and demodulator in such a way that the product infringes the asserted patents. See Reference

Design from MaxLinear and STMicroelectronics to Speed Multi-Channel Ultra HD HEVC

Satellite STB & Gateway Deployments, MAXLINEAR PRESS RELEASE (April 3, 2014) (“The

reference design accelerates OEM development of the next-generation of STBs and gateways,

enabling satellite operators to deliver Ultra HD content using the high-efficiency video-coding

(HEVC/ H.265) standard.”).

       27.     Amino makes use of MaxLinear’s reference design in an infringing manner at the

direction of MaxLinear. “The reference platform supports the latest high-efficiency video coding

(HEVC/H.265), ultra-high definition (UHD) ‘4K’ video display, H.264 1080p encoding, and high

dynamic range (HDR) technologies in a very cost-effective, small form factor design. The

platform is able to support all of the leading conditional access (CAS) solutions as well as Linux-

or Android-based middleware solutions from leading vendor.” Reference Design from MaxLinear

and Realtek Targets 4K Ultra HD PVR Set-Top Box Market for Satellite Pay-TV Operators,

MAXLINEAR PRESS RELEASE (September 10, 2016).

       28.     MaxLinear executives have identified that MaxLinear’s reference designs and

supporting material enable companies such as Amino to develop products in collaboration with

MaxLinear such as the accused AminoVU Client Devices.

       “Demand for broadcast 4K content and multiscreen viewing is driving the need for
       new PVRs and media servers,” said Will Torgerson, Vice President and General
       Manager, MaxLinear Broadband Group. “MaxLinear’s scalable frontend solutions




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       are enabling the leading satellite pay-TV operators to deploy feature-rich services
       to their subscribers with minimal capital expenditures.”
Reference Design from MaxLinear and Realtek Targets 4K Ultra HD PVR Set-Top Box Market
for Satellite Pay-TV Operators, MAXLINEAR PRESS RELEASE (September 10, 2016).

       29.     MaxLinear has agreed to indemnify Amino in connection with intellectual-property

claims, as described in MaxLinear’s Terms of Service excerpted below.

       In the event that a third party makes a claim alleging that Products delivered to
       Customer infringe such third party's intellectual property rights, Supplier
       undertakes at its option and charge to defend the claim or seek a compromise; if an
       unfavorable and final judgment is rendered against Supplier, then Supplier shall, at
       its option, take out a license from the above mentioned third party or shall modify
       the Products in such a way as to avoid infringement. If such a solution shall be
       impracticable for economic and/or technical reasons, Supplier shall accept the
       return of allocable Products supplied giving rise to the claim and shall reimburse
       the Customer up to a maximum equal to the amount paid by the Customer for
       allocable Products deemed to infringe.
MaxLinear Terms and Conditions of Sale, MAXLINEAR WEBSITE, available at:
https://www.maxlinear.com/support/terms-and-conditions-of-sale (last visited October 2019).

       30.     MaxLinear maintains control over the reference designs which enables MaxLinear

to control and direct Amino’s development of the AminoVU client devices.

       The contents of www.maxlinear.com are owned by MaxLinear and protected by
       the copyright and other laws of the United States, its treaty countries and other
       jurisdictions. You may not modify, copy, reproduce, republish, upload, post,
       transmit, transfer, or distribute in any way any of the contents of this site. You may
       download content from this site solely for your personal, non-commercial use,
       provided you keep intact all copyright and other proprietary notices. Any copies of
       the content must include this copyright notice. In addition, various logos, titles and
       names displayed on the Web Site are the registered trademarks of MaxLinear, its
       affiliates, business partners or suppliers. Except as stated herein, nothing contained
       herein shall be construed as conferring by implication, estoppels or otherwise any
       license or right under any trademark, patent, copyright, mask work protection right
       or any other intellectual property right of MaxLinear, or any third party.
MaxLinear’s Terms of Use, MAXLINEAR WEBSITE, available at:
https://www.maxlinear.com/terms-of-use (last visited October 2019) (emphasis added).

       31.     Both MaxLinear and Amino have an equal right to a voice in the direction of the

enterprise, which gives an equal right of control. Pursuant to the agreements between the parties,

MaxLinear has the right to control the MaxLinear Full-Spectrum Capture (FSC) & Narrowband



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Tuners and Demodulators, since the tuners and demodulators cannot be built without MaxLinear’s

consent. MaxLinear also has the right to remove its tuners and demodulators from Amino’s

AminoVU Client Devices pursuant to the terms and conditions of their agreements and agreements

between MaxLinear and third parties.

       32.     Even if MaxLinear and Amino are not found to be in a joint enterprise, equity would

demand joint liability for the acts of the other given their close and pervasive express and implied

agreements, common interest, shared pecuniary interest and shared control over the MaxLinear-

Amino Products.

       33.     Alternatively, MaxLinear is liable for the acts of Amino with respect to the

MaxLinear-Amino Products, because MaxLinear has expressly agreed that it is responsible for

infringement of any third-party intellectual property rights with respect to the MaxLinear tuners

and demodulators. See, e.g., MaxLinear Terms and Conditions of Sale, MAXLINEAR WEBSITE,

available at: https://www.maxlinear.com/support/terms-and-conditions-of-sale (last visited

October 2019).

       34.     There are numerous express and implied agreements between MaxLinear and

Amino concerning the development and distribution of the MaxLinear-Amino Products. For

example, Amino must sign in and register for a MaxLinear myMxL account,22 enter into contracts

with MaxLinear, and agree to MaxLinear’s Terms of Use and Privacy Policy.

       35.     Even if MaxLinear were not liable for direct infringement, upon information and

belief, MaxLinear conditions both the manner and timing of the performance of steps by Amino




22
   Create a myMxL Account – Account Registration Webpage, MAXLINEAR WEBSITE, available
at: https://www.maxlinear.com/register (last visited October 2019).


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in building and distributing the MaxLinear-Amino Products, and is thus liable for indirect

infringement of the Asserted Patents.

       36.     Prior to selling the MaxLinear-Amino Products, Amino must follow certain

mandatory guidelines, procedures, terms and conditions as set forth and dictated by MaxLinear.

In this way, MaxLinear conditions participation in, and the receipt of the benefit namely, the ability

to distribute MaxLinear’s Full-Spectrum Capture (FSC) & Narrowband Tuners and Demodulators,

upon compliance with procedures and guidelines for the deployment and use of MaxLinear tuners

and demodulators. To the extent that some elements of a claim are performed by a different party

than MaxLinear, MaxLinear – through its reference designs, software, drivers and infringing

devices23 – participates in the infringement (as described above and herein) and receives a benefit

upon performance of the steps of the patented method. For example, MaxLinear provides the

reference designs, software and drivers that establish the manner and/or timing of the performance

of the steps such as the design that enables the receipt of terrestrial video data then conversion of

the data into a serial MPEG Transport Stream that is then decoded and upconverted into an

interlace format for display. MaxLinear receives a benefit from such actions by Amino as it allows

it to provide a product that would be desired. MaxLinear’s contracts with Amino also create an

agency relationship or governs infringing activity for purposes of joint infringement.

       37.     By agreeing to the terms and conditions of the MaxLinear Agreements, Amino

receives certain benefits and resources provided by MaxLinear, that are necessary for the

development of the AminoVU Client Devices including software, instructions, tools, and licenses




23
  The accused MaxLinear Full-Spectrum Capture (FSC) & Narrowband Tuners and Demodulators
contain firmware that is developed, copyrighted, and owned by MaxLinear.


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thereto, for device development and testing, and such other content, materials, resources and

services including firmware customization, and technical notes as provided by MaxLinear.

       38.     MaxLinear’s Full-Spectrum Capture (FSC) & Narrowband Tuners and

Demodulators (e.g., MxL683 Single-Chip, ISDB-T/SBTVD-T Tuner and Demodulator) are

incorporated into Amino’s AminoVU client devices. The following image shows the MaxLinear

Integrated Digital Tuner in the MaxLinear-Amino Product. Specifically, the shielding around the

integrated digital tuner has been removed to show the MaxLinear Integrated Digital Tuner that

receives the high definition video content and then demodulates it and places it into an MPEG

transport stream.24




MAXLINEAR-AMINO PRODUCT TEARDOWN (prepared October 2019) (annotations showing the
shielding around the integrated digital tuner in the Aria 6 device has been removed).


24
   MxL683 Single-Chip, ISDB-T/SBTVD-T Tuner and Demodulator Product Page, MAXLINEAR
WEBPAGE, available at: https://www.maxlinear.com/product/connected-home/satellite-and-
terrestrial/fsc-and-narrowband-tuners-demods/terrestrial/mxl683 (last visited November 2019)
(“The MxL683 includes an integrated digital tuner, a 13-segment ISDB-T/SBTVD-T demodulator,
an embedded CPU, and a serial MPEG Transport Stream (TS) output.”).


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        39.     A detailed image of the integrated digital tuner in the MaxLinear-Amino Product

shows that the tuner is manufactured by MaxLinear, and in this instance is the MxL683 Single-

Chip ISDB-T/SBTVD-T Tuner and Demodulator.




MAXLINEAR-AMINO PRODUCT TEARDOWN (prepared October 2019) (annotation showing that the
MaxLinear-Amino Product contains a MaxLinear digital tuner).

        40.     Amino designs, manufactures, uses, and imports into the United States, sells, and/or

offers for sale in the United States set-top boxes that contain digital tuners and demodulators

designed, manufactured, sold and/or offered for sale by MaxLinear for the purpose of receiving

and demodulating video data.

        41.     Amino and MaxLinear continue to make, use, import into the United States, market,

offer for sale, and/or sell in the United States devices that infringe the patents-in-suit, and/or induce

or contribute to the infringement of the patents-in-suit by others, including end-users.

        42.     Common questions of fact relating to Defendants’ infringement arise in this action.

These common questions include questions concerning MaxLinear and Amino’s infringement of



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the patents-in-suit through the incorporation of common MaxLinear digital tuners and

demodulators in the accused AminoVU client devices. Common questions of fact as to the profits

and revenues derived by Amino and MaxLinear will arise. Common questions of fact will also

exist with regard to Amino and MaxLinear’s defenses in this litigation, if any.

       43.     All of the accused AminoVU devices contain a MaxLinear digital tuner and

demodulator.




MAXLINEAR-AMINO PRODUCT TEARDOWN (prepared October 2019) (annotations showing the
location of the digital tuner and demodulator in the Aria 6 device).

       44.     The accused devices contain not only MaxLinear digital tuners and demodulators

but also computer code owned and authored by MaxLinear. For example, the following excerpts

from uncompiled source code that is loaded onto the accused devices show the extensive use of

computer code owned and authored by MaxLinear in the AminoVU client devices. Each of the

AminoVU client devices contains source code files owned and authored by MaxLinear.



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Examples of computer code files contained in the source code for the drivers of the MaxLinear
tuners and demodulators. The excerpted source code is from the following driver files authored
and     copyrighted   by     MaxLinear:      MxL68x_PhyCfg.h;         MxL68x_FwDownload.c;
MaxLinearDataTypes.h; and MxL68xPhyCtrlApi.cpp (annotation added showing that the source
code is authored by MaxLinear and the copyright to the source code is owned by MaxLinear).

                                    THE ASSERTED PATENTS
U.S. PATENT NO. 6,639,944

       45.     U.S. Patent No. 6,639,944 entitled, Sub-Pixel Accurate Motion Vector Estimation

and Compensated Interpolation, was filed on April 26, 2000, and claims priority to April 26, 1999.

Dynamic Data is the owner by assignment of all right, title, and interest in the ’944 Patent. A true

and correct copy of the ’944 Patent is attached hereto as Exhibit 1.

       46.     The ’944 Patent discloses novel methods and systems for sub-pixel accurate motion

vector estimation and motion-compensated interpolation or prediction.

       47.     The inventions disclosed in the ’944 Patent enable higher accuracy motion

estimation at a lower cost through improvements in motion vector estimation and motion-

compensated interpolation.




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       48.     The ’944 Patent discloses a method of generating an intermediate image using sub-

pixel accurate motion vectors having vector components that may have non-integer values, from

first and second images having a given mutual temporal distance, the intermediate image being at

a fractional distance from said first image, said fractional distance being a fraction of said given

mutual temporal distance.

       49.     The ’944 Patent discloses a method that includes deriving first and second vectors

from said sub-pixel accurate motion vectors.

       50.     The ’944 Patent discloses a method that includes generating an intermediate image

by combining first positions in a first image shifted over first vectors and second positions in said

second image shifted over second vectors.

       51.     The ’944 Patent discloses a method that includes deriving first and second vectors

from sub-pixel accurate motion vectors by multiplying the vector components of the sub-pixel

accurate motion vectors by a fraction to obtain fractional vector components.

       52.     The ’944 Patent discloses a method that includes deriving first and second vectors

from sub-pixel accurate motion vectors by rounding the fractional vector components to obtain

vector components of the first vectors, which have only integer vector components.

       53.     The ’944 Patent discloses a method that includes deriving first and second vectors

from sub-pixel accurate motion vectors by subtracting the first vector from the candidate vector to

obtain the second vector, whereby the second vectors have vector components that, depending on

the candidate vector and the fraction, may have non-integer values.

       54.     The ’944 Patent family has been cited by 34 patents and patent applications as

relevant prior art. Specifically, patents issued to the following companies have cited the ‘944

patent family as relevant prior art:




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                Himax Media Solutions, Inc.
                Cyberlink Corp.
                Marvell International Ltd.
                Sharp Corporation
                Toshiba Corporation
                Tokyo University
                Samsung Electronics Co., Ltd.
                Intel Corporation
                Broadcom Limited
                Micron Technology, Inc.
                Cisco Systems, Inc.
                Hitachi, Ltd.

U.S. PATENT NO. 6,760,376

       55.       U.S. Patent No. 6,760,376 entitled, Motion Compensated Upconversion For Video

Scan Rate Conversion, was filed on November 6, 2000. The ‘376 patent is subject to a 35 U.S.C.

§ 154(b) term extension of 697 days. Dynamic Data is the owner by assignment of all right, title,

and interest in the ’376 Patent. A true and correct copy of the ’376 Patent is attached hereto as

Exhibit 2.

       56.       The ’376 Patent discloses novel methods and systems for motion compensated

upconversion in a video image that uses motion compensation to generate an interpolated video

field using motion vectors.

       57.       The inventions disclosed in the ’376 Patent provide a sharp video image by

comparing a calculated correlation value of pixels with a threshold value.

       58.       The ’376 Patent discloses technologies that improve video image quality by

selecting a motion compensated pixel that will provide a sharp video image by comparing a

calculated correlation value of pixels with a threshold value.

       59.       The ’376 Patent discloses a method of motion compensation for use in a video

image upconversion unit of the type that uses motion compensation to generate an interpolated

field using motion vectors.


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       60.       The ’376 Patent discloses a method of motion compensation that includes

calculating a correlation value from the values of causal neighbor pixels of a generated field and

from the values of corresponding neighbor pixels of a next field.

       61.       The ’376 Patent discloses a method of motion compensation that includes

comparing the correlation value with a threshold value.

       62.       The ’376 Patent discloses a method of motion compensation that includes setting

the value of a pixel to be created within the generated field to be equal to the value of a

corresponding pixel of the next field if the correlation value is less than the threshold value.

       63.       The ’376 Patent family has been cited by twelve patents and patent applications as

relevant prior art. Specifically, patents issued to the following companies have cited the ‘376

patent family as relevant prior art:

                Samsung Electronics Co., Ltd.
                Blip X Ltd.
                Himax Technologies Limited
                Snell Ltd.
                Robert Bosch Gmbh
                Hyundai Motor Company

                                          COUNT I
                          INFRINGEMENT OF U.S. PATENT NO. 6,639,944

       64.       Dynamic Data references and incorporates by reference the preceding paragraphs

of this Complaint as if fully set forth herein.

       65.       MaxLinear and Amino design, make, use, sell, and/or offer for sale in the United

States products and/or services for sub-pixel accurate motion vector estimation and motion-

compensated interpolation or prediction.

       66.       MaxLinear and Amino have directly infringed and continue to directly infringe the

’944 patent by making, using, selling, offering for sale, or importing into the United States products



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and/or methods covered by one or more claims of the ’944 Patent. Defendants’ products that

infringe one or more claims of the ’944 Patent include, but are not limited to, the AminoVU Client

Devices (e.g., Aria 6 and Aria 7) and the MaxLinear Full-Spectrum Capture (FSC) & Narrowband

Tuners and Demodulators (e.g., MxL683 Single-Chip, ISDB-T/SBTVD-T Tuner and

Demodulator) that perform motion compensated interpolation (collectively, the “MaxLinear-

Amino ’944 Products(s)”).

       67.     MaxLinear-Amino ‘944 Products perform the method of generating an

intermediate image using sub-pixel accurate motion vectors. The below image shows the circuit

board of the MaxLinear-Amino ’944 Product(s) and identifies the tuner and demodulator that

receives high definition video images for motion compensated interpolation.




MAXLINEAR-AMINO ’944 PRODUCT TEARDOWN (prepared October 2019) (annotations showing
the location of the digital tuner and demodulator in the Aria 6 device).

       68.     The following image shows the MaxLinear Integrated Digital Tuner in the

MaxLinear-Amino ’944 Product. Specifically, the shielding around the integrated digital tuner




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has been removed to show the MaxLinear Integrated Digital Tuner that receives the high definition

video content and then demodulates it and places it into an MPEG transport stream.




MAXLINEAR-AMINO PRODUCT TEARDOWN (prepared October 2019) (annotations showing the
shielding around the integrated digital tuner in the Aria 6 device has been removed).

       69.    A detailed image of the integrated digital tuner in the MaxLinear-Amino ’944

Product shows that the tuner is manufactured by MaxLinear and can include the MxL683 Single-

Chip, ISDB-T/SBTVD-T Tuner and Demodulator.




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MAXLINEAR-AMINO PRODUCT TEARDOWN (prepared October 2019) (annotation showing that the
MaxLinear-Amino ’944 Product contains a MaxLinear digital tuner).

       70.       The MaxLinear-Amino ’944 Products contains functionality for receiving high

definition content that is encoded using H.265 (HEVC) format through the digital tuner and

demodulator. Further, the MaxLinear-Amino ’944 Products support decoding this high definition

video content.




Aria 6 Technical Specifications, AMINO WEBSITE, available at:
https://www.aminocom.com/products/amino-vu/client-devices/aria-6 (last visited November
2019) (annotation added).



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       71.    Defendants’ documentation identifies that the accused MaxLinear-Amino ’944

Products enable the playback of content that is encoded in the HEVC standard using an HEVC

complaint decoder.




Aria 6 Key Features, AMINO WEBSITE, available at:
https://www.aminocom.com/products/amino-vu/client-devices/aria-6 (last visited November
2019).

       72.    The accused MaxLinear-Amino ’944 Products are described in documentation as a

“high performance hybrid HD HEVC client device with a range of tuner options for delivering a

seamless user experience.”




4K Ultra HD & HEVC: Drive Customer Loyalty And Engagement With Vivid Details Of 4K
Ultra HD, AMINO WEBSITE, available at: https://www.aminocom.com/solutions/4k-ultrahd-hevc
(last visited November 2019) (annotation added).

       73.    The MaxLinear-Amino ’944 Products perform the method of decoding content

compliant with the HEVC standard. The decoding process required by the HEVC standard



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requires that during decoding of HEVC encoding content an intermediate image is generated using

sub-pixel accurate motion vectors. The following documents show that the MaxLinear-Amino

Products ‘944 perform the method of decoding content complaint with the HEVC standard.

       74.     The MaxLinear-Amino ’944 Products perform a method that includes generating

an intermediate image by combining first positions in a first image shifted over first vectors and

second positions in said second image shifted over second vectors.

        One way of achieving high video compression is to predict pixel values for a frame
        based on prior and succeeding pictures in the video. Like its predecessors, H.265
        features the ability to predict pixel values between pictures, and in particular, to
        specify in which order pictures are coded and which pictures are predicted from
        which. The coding order is specified for Groups Of Pictures (GOP), where a
        number of pictures are grouped together and predicted from each other in a
        specified order. The pictures available to predict from, called reference pictures,
        are specified for every individual picture.
Johan Bartelmess, Compression Efficiency of Different Picture Coding Structures in High
Efficiency Video Coding (HEVC), UPTEC STS 16006 at 4 (March 2016) (emphasis added).

       75.     The MaxLinear-Amino ’944 Products perform decoding of video in compliance

with the H.265 standard.

       76.     The MaxLinear-Amino ’944 Products all perform decoding of video content in

compliance with the HEVC Standard.

       77.     Defendants make, use, sell, offer for sale, or import into the United States the

MaxLinear-Amino ’944 Products and thus directly infringes at least one or more claims of the

’944 Patent. Upon information and belief, the Defendants also use the MaxLinear-Amino ’944

Products via its internal use and testing in the United States, directly infringing one or more claims

of the ’944 Patent.

       78.     Defendants have induced and continue to induce and contribute to infringement of

the ’944 Patent by intending that others make, use, import into, offer for sale, or sell in the United

States, products and/or methods covered by one or more claims of the ’944 Patent, including, but



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not limited to, the MaxLinear-Amino ’944 Products. MaxLinear and Amino provide these

infringing products to others, such as manufacturers, customers, resellers, and end-use consumers

who, in turn, use, offer for sale, or sell in the United States these products that infringe one or more

claims of the ’944 Patent.

       79.     One or more of Defendants’ subsidiaries and/or affiliates use the MaxLinear-

Amino ’944 Products in regular business operations.

       80.     The MaxLinear-Amino ’944 Products are available to businesses and individuals

throughout the United States.

       81.     The MaxLinear-Amino ’944 Products are provided to businesses and individuals

located in the State of Delaware.

       82.     The MaxLinear-Amino ’944 Products perform a method of generating an

intermediate image using sub-pixel accurate motion vectors having vector components that may

have non-integer values, from first and second images having a given mutual temporal distance,

the intermediate image being at a fractional distance from said first image, said fractional distance

being a fraction of said given mutual temporal distance.

       83.     The MaxLinear-Amino ’944 Products comply with the HEVC standard, which

requires determining motion vectors assigned to individual image regions of an image.




High Efficiency Video Coding, SERIES H: AUDIOVISUAL AND MULTIMEDIA SYSTEMS:
INFRASTRUCTURE OF AUDIOVISUAL SERVICES – CODING OF MOVING VIDEO REC. ITU-T H.265 at
§ 8.5.3.1 (February 2018).




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       84.     The MaxLinear-Amino ’944 Products perform a method that includes deriving first

and second vectors from sub-pixel accurate motion vectors by multiplying the vector components

of the sub-pixel accurate motion vectors by a fraction to obtain fractional vector components.




Philipp Helle, Simon Oudin, Benjamin Bross, Detlev Marpe, M. Oguz Bici, Kemal Ugur, Joel
Jung, Gordon Clare, and Thomas Wiegand, Block Merging for Quadtree-Based Partitioning in
HEVC, IEEE TRANS. CIR. AND SYS. FOR VIDEO TECHNOLOGY, Vol. 22 No. 12 (December 2012)
(“AMVP has two predictor candidates competing for the prediction. Two spatial motion vector
predictor (MVP) candidates are considered and, when at least one of them is not available or
they are redundant, a temporal motion vector prediction (TMVP) candidate is considered.”).

       85.     In AMVP, the motion vector selection process is composed of two steps wherein

the candidate motion vectors are constructed into an index and then the motion vectors are

compared. “In AMVP, the motion vector selection process is composed by two steps in encoder

implementation. The first step is the motion vector candidate set construction process and the

second step is the best motion vector selection step. In the first step, the motion vector candidate

set is organized by selecting the motion vectors spatially and temporally.” Gwo-Long Li, Chuen-

Ching Wang, and Kuang-Hung Chiang, An Efficient Motion Vector Prediction Method for

Avoiding AMVP Data Dependency For HEVC, 2014 IEEE INTERNATIONAL CONFERENCE                       ON

ACOUSTIC, SPEECH AND SIGNAL PROCESSING (ICASSP) at 7412-13 (2014).

       86.     The MaxLinear-Amino ’944 Products perform a method that includes deriving first

and second vectors from sub-pixel accurate motion vectors by rounding the fractional vector

components to obtain vector components of the first vectors, which have only integer vector

components.


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       Using a translational motion model, the position of the block in a previously
       decoded picture is indicated by a motion vector: Δx; Δy where Δx specifies the
       horizontal and Δy the vertical displacement relative to the position of the current
       block. The motion vectors: Δx; Δy could be of fractional sample accuracy to more
       accurately capture the movement of the underlying object. Interpolation is applied
       on the reference pictures to derive the prediction signal when the corresponding
       motion vector has fractional sample accuracy. The previously decoded picture is
       referred to as the reference picture and indicated by a reference index Δt to a
       reference picture list. These translational motion model parameters, i.e. motion
       vectors and reference indices, are further referred to as motion data.
Benjamin Bross, Inter-Picture Prediction In HEVC, IN HIGH EFFICIENCY VIDEO CODING (HEVC)
(Vivienne Sze, Madhukar Budagavi, and Gary J. Sullivan (Editors)) at 114 (September 2014)
(emphasis added).

       87.     The MaxLinear-Amino ’944 Products perform a method that includes deriving first

and second vectors from sub-pixel accurate motion vectors by subtracting the first vector from the

candidate vector to obtain the second vector, whereby the second vectors have vector components

that, depending on the candidate vector and the fraction, may have non-integer values.

       88.     The MaxLinear-Amino ’944 Products contain functionality for motion

compensation where two or more motion vectors can be applied. Further, one or two motion

vectors can be applied to the image processing process. The application of the motion vectors

leads to uni-predictive or bi-predictive coding, respectively, where bi-predictive coding uses an

averaged result of two predictions to form the final prediction.




Series H: Audiovisual and Multimedia Systems- Infrastructure of Audiovisual Services – Coding
of Moving Video, INTERNATIONAL TELECOMMUNICATIONS UNIONS - TU-T H.265, V.5 at I
(February 2018).




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       89.     The following excerpt from a book describes that the motion estimation is done

through PU matching method and that the MV represents the displacement between the current

PU in the current frame and the matching PU in the reference frame.

      Motion estimation compares the current prediction unit (PU) with the spatially
      neighboring PUs in the reference frames, and chooses the one with the least
      difference to the current PU. The displacement between the current PU and the
      matching PU in the reference frames is signaled using a motion vector.
Sung-Fang Tsai, et al., Encoder Hardware Architecture for HEVC, High Efficiency Video
Coding (HEVC) at 347 (September 2014) (emphasis added).

       90.     The following exemplary drawings reflect that the corresponding image segment

of a reference picture is co-located with the current image segment of a current picture.




R.C. LINS, et al., A Faster Pixel-Decimation Method for Block Motion Estimation in
H.264/AVC, PUBLISHED IN TEND. MAT. APL. COMPUT., VOL. 15, NO. 1 at 120 (2014), available
at: http://www.scielo.br/scielo.php?script=sci_arttext&pid=S2179-84512014000100010.




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Purnachand Nalluri, et al., Fast Motion Estimation Algorithm for HEVC Video Encoder,
published in 9TH CONFERENCE ON TELECOMMUNICATIONS, VOl. 1 at 1 (May 2013) (attached
hereto as Exhibit_ZL 5), available at: https://www.it.pt/Publications/PaperConference/14332

       91.     For AMVP mode with motion estimation, the main goal of the motion estimation

is to find the best matching block of each current PU and determine the real MV which represents

the motion translation in the successive frame. The MV difference between the optimal AMVP

candidate and the real MV derived from the motion estimation is encoded and transmitted together

with other information, e.g., the optimal AMVP and reference frame indexes. The motion

estimation is conducted in two stages, the integer motion estimation (IME) at integer pixel

accuracy and the fractional motion estimation (FME) at subpixel accuracy. According to the “High

Efficiency Video Coding (HEVC) Test Model 16 (HM 16) Improved Encoder Description Update

9” approved by JCT-VC, the best candidate MVP selected from the AMVP candidate list is used

as an initial search center of the IME, which indicates that the search center of the IME is offset

from the co-located block within the reference frame by the best candidate MVP.

       92.     Therefore, when the MaxLinear-Amino ’944 Products processes the video data

using AMVP mode based on the IME, the co-located block within the reference frame of the

current PU corresponds to the selected image segment, and the best candidate MVP corresponds




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to the offset vector within the reference frame from the co-located block of the current PU (i.e.,

the selected image segment) to the search center.

        To derive the motion vector(s) for each PU, a block matching algorithm is
        performed in the HM encoder. For AMVP, find the best candidate MV predictor
        for each ref_idx and ref_pic_list using xEstimateMvPredAMVP(), called from
        predInterSearch(). The default search range for the first search in the HM encoder
        is 96 integer pixels, however the CTC [3] uses a value of 64. A search window is
        defined according to the search range, relative to the best candidate MV predictor.
        Firstly an integer-pel search is performed, followed by a fractional-pel refinement
        search.
The Joint Collaborative Team on Video Coding (JCT-VC), High Efficiency Video Coding
(HEVC) Test Model 16 (HM 16) Improved Encoder Description Update 9, ISO/IEC
JTC1/SC29/WG11 N17047 at 43 (July 2017) (emphasis added), available at:
https://mpeg.chiariglione.org/standards/mpeg-h/high-efficiency-video-coding/n17047-high-
efficiency-video-coding-hevc-test-model-16.

       93.     By complying with the HEVC standard, the MaxLinear-Amino ‘944 Products

necessarily infringe the ’944 Patent. The mandatory sections of the HEVC standard require the

elements required by certain claims of the ’944 Patent, including but not limited to claim 2 of the

‘944 patent. High Efficiency Video Coding, SERIES H: AUDIOVISUAL AND Multimedia SYSTEMS:

INFRASTRUCTURE OF AUDIOVISUAL SERVICES – CODING OF MOVING VIDEO REC. ITU-T H.265

(February 2018) (The following sections of the HEVC Standard are relevant to MaxLinear and

Amino’s infringement of the ‘944 patent: “8.3.2 Decoding process for reference picture set;” “8.5.4

Decoding process for the residual signal of coding units coded in inter prediction mode;” “8.6

Scaling, transformation and array construction process prior to deblocking filter process;” “8.5.2

Inter prediction process;” “8.5.3 Decoding process for prediction units in inter prediction mode;”

and “8.7.2 Deblocking filter process;” “8.7.3 Sample adaptive offset process.”).

       94.     The MaxLinear-Amino ’944 Products perform a method that includes deriving first

and second vectors from said sub-pixel accurate motion vectors.




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       95.     The MaxLinear-Amino ’944 Products perform a method that includes generating

an intermediate image by combining first positions in a first image shifted over first vectors and

second positions in said second image shifted over second vectors.

       96.     The MaxLinear-Amino ’944 Products perform a method that includes deriving first

and second vectors from sub-pixel accurate motion vectors by multiplying the vector components

of the sub-pixel accurate motion vectors by a fraction to obtain fractional vector components.

       97.     The MaxLinear-Amino ’944 Products perform a method that includes deriving first

and second vectors from sub-pixel accurate motion vectors by rounding the fractional vector

components to obtain vector components of the first vectors, which have only integer vector

components.

       98.     The MaxLinear-Amino ’944 Products perform a method that includes deriving first

and second vectors from sub-pixel accurate motion vectors by subtracting the first vector from the

candidate vector to obtain the second vector, whereby the second vectors have vector components

that, depending on the candidate vector and the fraction, may have non-integer values.

       99.     By making, using, testing, offering for sale, and/or selling products and services for

sub-pixel accurate motion vector estimation and motion-compensated interpolation or prediction,

including but not limited to the MaxLinear-Amino ’944 Products, MaxLinear and Amino have

injured Dynamic Data and are liable to the Plaintiff for directly infringing one or more claims of

the ‘944 patent, including at least claim 2 pursuant to 35 U.S.C. § 271(a).

       100.    MaxLinear and Amino also indirectly infringe the ’944 Patent by actively inducing

infringement under 35 U.S.C. § 271(b).




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       101.    MaxLinear and Amino have had knowledge of the ’944 Patent since at least service

of this Complaint or shortly thereafter, and on information and belief, MaxLinear and Amino knew

of the ’944 Patent and knew of its infringement, including by way of this lawsuit.

       102.    MaxLinear intended to induce patent infringement by third-party customers and

users of the MaxLinear-Amino ’944 Products and had knowledge that the inducing acts would

cause infringement or was willfully blind to the possibility that its inducing acts would cause

infringement. MaxLinear specifically intended and was aware that the normal and customary use

of the accused products would infringe the ’944 Patent. MaxLinear performed the acts that

constitute induced infringement, and would induce actual infringement, with knowledge of the

‘944 patent and with the knowledge that the induced acts would constitute infringement. For

example, MaxLinear provides the MaxLinear-Amino ’944 Products that have the capability of

operating in a manner that infringe one or more of the claims of the ’944 Patent, including at least

claim 2, and MaxLinear further provides documentation and training materials that cause

customers and end users of the MaxLinear-Amino ’944 Products to utilize the products in a manner

that directly infringe one or more claims of the ’944 Patent.25 By providing instruction and training

to customers and end-users on how to use the MaxLinear-Amino ’944 Products in a manner that

directly infringes one or more claims of the ’944 Patent, including at least claim 2, MaxLinear



25
   See, e.g., MaxLinear’s New Low-Cost USB Dongle Reference Design Brings Broadcast HDTV
to Latin American Consumers, MAXLINEAR PRESS RELEASE (August 14, 2014); Reference Design
from MaxLinear and STMicroelectronics to Speed Multi-Channel Ultra HD HEVC Satellite STB
& Gateway Deployments, MAXLINEAR PRESS RELEASE (April 3, 2014); Reference Design from
MaxLinear and Realtek Targets 4K Ultra HD PVR Set-Top Box Market for Satellite Pay-TV
Operators, MAXLINEAR PRESS RELEASE (September 10, 2016); MxL692 Single-Chip ATSC/QAM
Tuner and Demodulator, MAXLINEAR PRODUCT BRIEF (September 2019); MxL241SF Digital
Cable Silicon Tuner + QAM Demodulator SoC, MAXLINEAR PRODUCT BRIEF (2009); and
MaxLinear’s Hybrid Satellite-Terrestrial Solution Presentation, MAXLINEAR PRESENTATION AT
THE CONSUMER ELECTRONICS SHOW 2014 (January 27, 2014).



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specifically intended to induce infringement of the ’944 Patent. MaxLinear engaged in such

inducement to promote the sales of the MaxLinear-Amino ’944 Products, e.g., through MaxLinear

user manuals, product support, marketing materials, and training materials to actively induce the

users of the accused products to infringe the ’944 Patent. Accordingly, MaxLinear has induced

and continues to induce users of the accused products to use the accused products in their ordinary

and customary way to infringe the ’944 Patent, knowing that such use constitutes infringement of

the ’944 Patent.

       103.    Amino intended to induce patent infringement by third-party customers and users

of the MaxLinear-Amino ’944 Products and had knowledge that the inducing acts would cause

infringement or was willfully blind to the possibility that its inducing acts would cause

infringement. Amino specifically intended and was aware that the normal and customary use of

the MaxLinear-Amino ’944 Products would infringe the ’944 Patent. Amino performed the acts

that constitute induced infringement, and would induce actual infringement, with knowledge of

the ’944 Patent and with the knowledge that the induced acts would constitute infringement. For

example, Amino provides the MaxLinear-Amino ’944 Products that have the capability of

operating in a manner that infringe one or more of the claims of the ’944 Patent, including at least

claim 2, and Amino further provides documentation and training materials that cause customers

and end users of the MaxLinear-Amino ’944 Products to utilize the products in a manner that

directly infringe one or more claims of the ’944 Patent.26 By providing instruction and training to



26
     See, e.g., Aria 6 Technical Specifications, AMINO WEBSITE, available at:
https://www.aminocom.com/products/amino-vu/client-devices/aria-6 (last visited November
2019); 4K Ultra HD & HEVC: Drive Customer Loyalty And Engagement With Vivid Details Of
4K Ultra HD, AMINO WEBSITE, available at: https://www.aminocom.com/solutions/4k-ultrahd-
hevc (last visited November 2019); Aria 6 Key Features, AMINO WEBSITE, available at:
https://www.aminocom.com/products/amino-vu/client-devices/aria-6 (last visited November
2019); Amino Unveils New 6 Series Range – A Comprehensive Portfolio Of 4K Ultra HD And


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customers and end-users on how to use the MaxLinear-Amino ’944 Products in a manner that

directly infringes one or more claims of the ’944 Patent, including at least claim 2, Amino

specifically intended to induce infringement of the ’944 Patent.         Amino engaged in such

inducement to promote the sales of the MaxLinear-Amino ’944 Products, e.g., through Amino user

manuals, product support, marketing materials, and training materials to actively induce the users

of the MaxLinear-Amino ’944 Products to infringe the ’944 Patent. Accordingly, Amino has

induced and continues to induce users of the accused products to use the accused products in their

ordinary and customary way to infringe the ’944 Patent, knowing that such use constitutes

infringement of the ’944 Patent.

        104.    The ’944 Patent is well-known within the industry as demonstrated by multiple

citations to the ’944 Patent in published patents and patent applications assigned to large

technology companies and prominent academic institutions.

        105.    MaxLinear and Amino are utilizing the technology claimed in the ’944 Patent

without paying a reasonable royalty. MaxLinear and Amino are infringing the ’944 Patent in a

manner best described as willful, wanton, malicious, in bad faith, deliberate, consciously wrongful,

flagrant, or characteristic of a pirate.

        106.    To the extent applicable, the requirements of 35 U.S.C. § 287(a) have been met

with respect to the ’944 Patent. As a result of MaxLinear and Amino’s infringement of the ’944

Patent, Dynamic Data has suffered monetary damages, and seeks recovery in an amount adequate

to compensate for MaxLinear and Amino’s infringement, but in no event less than a reasonable




HEVC Hybrid TV Devices, AMINO PRESS RELEASE (January 21, 2016); Aria 6 User Guide, AMINO
DOCUMENTATION (2018); Aria 6 View CD C- Client Devices, AMINO DOCUMENTATION (2016);
and Aria 7 User Guide, AMINO DOCUMENTATION (2018).


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royalty for the use made of the invention by MaxLinear and Amino with interest and costs as fixed

by the Court.


                                         COUNT II
                          INFRINGEMENT OF U.S. PATENT NO. 6,760,376

       107.     Dynamic Data references and incorporates by reference the preceding paragraphs

of this Complaint as if fully set forth herein.

       108.     MaxLinear and Amino design, make, sell, offer to sell, import, and/or use the

accused MaxLinear-Amino products, including but not limited to, the following the MaxLinear-

Amino products including the AminoVU Client Devices (e.g., Aria 6 and Aria 7) and the

MaxLinear Full-Spectrum Capture (FSC) & Narrowband Tuners and Demodulators (e.g., MxL683

Single-Chip, ISDB-T/SBTVD-T Tuner and Demodulator) that perform the receiving and

upconversion of video image data (collectively, the “MaxLinear-Amino ’376 Products(s)”).

       109.     MaxLinear and Amino have directly infringed and continue to directly infringe the

’376 patent by making, using, selling, offering for sale, or importing into the United States products

and/or methods covered by one or more claims of the ’376 Patent.

       110.     The MaxLinear-Amino ’376 Products receive high definition video data through a

digital tuner and demodulator. The below image shows the circuit board of the MaxLinear-Amino

‘376 Product and identifies the tuner and demodulator that receives high definition video images

for upconversion.




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MAXLINEAR-AMINO ‘376 PRODUCT TEARDOWN (prepared October 2019) (annotations showing
the location of the digital tuner and demodulator in the Aria 6 device).

       111.    The following image shows the integrated digital tuner in the MaxLinear-Amino

’376 Products. Specifically, the shielding around the integrated digital tuner has been removed to

show the MaxLinear Integrated Digital Tuner that receives the high definition video content and

then demodulates it and places it into an MPEG transport stream.




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MAXLINEAR-AMINO ’376 PRODUCT TEARDOWN (prepared October 2019) (annotations showing
the shielding around the integrated digital tuner in the Aria 6 device has been removed).

       112.   A detailed image of the integrated digital tuner in the MaxLinear-Amino ’376

Products shows that the tuner is manufactured by MaxLinear and in this instance is the MxL683

Single-Chip, ISDB-T/SBTVD-T Tuner and Demodulator.




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MAXLINEAR-AMINO PRODUCT TEARDOWN (prepared October 2019) (annotation showing that the
MaxLinear-Amino Product contains a MaxLinear digital tuner).

       113.      The MaxLinear-Amino ’376 Products contain functionality for receiving high

definition content that is encoded using the H.265 (HEVC) format through the digital tuner and

demodulator. Further, the MaxLinear-Amino ’376 Products support decoding this high definition

video content.




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Aria 6 Technical Specifications, AMINO WEBSITE, available at:
https://www.aminocom.com/products/amino-vu/client-devices/aria-6 (last visited November
2019) (annotation added).

       114.   The MaxLinear-Amino ’376 Products further support upscaling and progressive to

interlace conversion as shown in the below excerpt from documentation of the MaxLinear-Amino

’376   Products   which   identifies   functionality   for   video   conversion   including   into

“480i/480p/576i/576p/720p/1080i/1080p/4KP60 (upscale) output formats.”




Aria 6 Technical Specifications, AMINO WEBSITE, available at:
https://www.aminocom.com/products/amino-vu/client-devices/aria-6 (last visited November
2019) (annotation added).

       115.   MaxLinear and Amino documentation identifies that the accused MaxLinear-

Amino ’376 Products enable the playback of content that is encoded in the HEVC standard using

an HEVC complaint decoder.




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Aria 6 Key Features, AMINO WEBSITE, available at:
https://www.aminocom.com/products/amino-vu/client-devices/aria-6 (last visited November
2019).

       116.    The accused MaxLinear-Amino ’376 Products are described in MaxLinear and

Amino documentation as a “high performance hybrid HD HEVC client device with a range of

tuner options for delivering a seamless user experience.”




4K Ultra HD & HEVC: Drive Customer Loyalty And Engagement With Vivid Details Of 4K
Ultra HD, AMINO WEBSITE, available at: https://www.aminocom.com/solutions/4k-ultrahd-hevc
(last visited November 2019) (annotation added).

       117.    The MaxLinear-Amino ’376 Products comprise an input for receiving encoded data

and a decoder that is compliant with the H.265 standard.

       118.    The MaxLinear-Amino ’376 Products perform decoding of video in compliance

with the H.265 standard.




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       119.    MaxLinear and Amino make, use, sell, offer for sale, or import into the United

States the MaxLinear-Amino ’376 Products and thus directly infringe at least one or more claims

of the ’376 Patent. Upon information and belief, Defendants also use the MaxLinear-Amino ’376

Products via internal use and testing in the United States, directly infringing one or more claims

of the ’376 Patent.

       120.    MaxLinear and Amino have induced and continue to induce and contribute to

infringement of the ’376 Patent by intending that others make, use, import into, offer for sale, or

sell in the United States, products and/or methods covered by one or more claims of the ‘376

patent, including, but not limited to, the MaxLinear-Amino ’376 Products. MaxLinear and Amino

provide these MaxLinear-Amino ‘376 Products to others, such as manufacturers, customers,

resellers, and end-use consumers who, in turn, use, offer for sale, or sell in the United States these

products that infringe one or more claims of the ’376 Patent.

       121.    One or more MaxLinear and/or Amino subsidiaries and/or affiliates use the

MaxLinear-Amino ’376 Products in regular business operations.

       122.    The MaxLinear-Amino’376 Products are available to businesses and individuals

throughout the United States.

       123.    The MaxLinear-Amino’376 Products are provided to businesses and individuals

located in the State of Delaware.

       124.    The MaxLinear-Amino ’376 Products include technology for motion compensated

upconversion in a video image that uses motion compensation to generate an interpolated video

field using motion vectors.




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       125.       One or more of the MaxLinear-Amino ’376 Products use upconversion units to

generate an interpolated field using motion vectors in the process of performing motion

compensation.

       126.       The MaxLinear-Amino ’376 Products use upconversion units within an image

retrieved from memory.

       127.       The MaxLinear-Amino ’376 Products calculate a correlation value from the value

of causal neighbor pixels of a generated field. Specifically, during the decoding process correlation

values are calculated as part of interpolating pixel values in a frame. The interpolated luma sample

value is calculated based on a “luma location in full-sample units ( xIntL, yIntL )” “a luma location

in fractional-sample units ( xFracL, yFracL ), and a “luma reference sample array refPicLXL.”

The following figure from the HEVC specification that is implemented by the MaxLinear-Amino

’376 Products shows the values of neighbor pixels are used to calculate a correlation value. The

below figure in the shaded blocks with upper-case letters shows the integer samples (whole pixels)

and the un-shaded blocks with lower-case letter show the fraction sample position for quarter luma

interpretation.




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Series H: Audio Visual and Multimedia Systems: Infrastructure of Audiovisual Services – Coding
of Moving Video, HIGH EFFICIENCY VIDEO CODING ITU-T REC. V.5 § 8.5.3.3.2 (February 2018).




Series H: Audio Visual and Multimedia Systems: Infrastructure of Audiovisual Services – Coding
of Moving Video, HIGH EFFICIENCY VIDEO CODING ITU-T REC. V.5 § 8.5.3.3.3.1 (February
2018).

       128.    Further, the chroma area is subject to interpolation using a similar procedure

implemented by the MaxLinear-Amino ’376 Products. The following figure shows the positions

of the integer pixel sample, 1/2 pixel samples, 1/4 pixel samples, and 1/8 pixel samples of the

chrominance components of the reference image. It is assumed that chrominance sample point Bi,

j is located at the integer sample point (xB i,j, yBi, j). The values of 1/2 pixel points ae0,0, ea0,0;


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1/4 pixel point ac0,0, ag0,0, ca0,0, ga0,0; and 1/8 pixel point ab0,0, ad0,0, af0,0, ah0,0, ba0,0,

da0,0, fa0,0, ha 0,0 can be obtained on the nearest integer pixel in the horizontal and vertical

directions and similarly the value of sub-pixel sample point bX0,0, cX0,0, dX0,0, eX0,0, fX0,0,

gX0,0 and hX0,0 (among which, X presents any one in b, c, d, e, f, g and h) can be obtained by

the 4-beat filter interpolation in the vertical direction. As can be seen from the figure in the HEVC

specification which shows all the adjacent pixels are examined in calculating the chroma

interpolation sample.




Series H: Audio Visual and Multimedia Systems: Infrastructure of Audiovisual Services – Coding
of Moving Video, HIGH EFFICIENCY VIDEO CODING ITU-T REC. V.5 § 8.5.3.3.3.3 (February
2018).

       129.    When generating a luma interpolation value the MaxLinear-Amino ‘376 Products

generate correlation value based on the values of previous frame. For example, for a luma sample

location ( xL = 0..nPbW − 1, yL = 0..nPbH − 1 ) the corresponding prediction luma sample values




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(predSamplesLXL[ xL ][ yL ]) are derived using the following process which calculates a

correlation value from the previous frame (refPixLXl).




Series H: Audio Visual and Multimedia Systems: Infrastructure of Audiovisual Services – Coding
of Moving Video, HIGH EFFICIENCY VIDEO CODING ITU-T REC. V.5 § 8.5.3.3.3.1 (February
2018).

        130.    The MaxLinear-Amino ’376 Products contain functionality for generating luma

sample values based on pixels adjacent to the area that is subject to interpolation form the basis

for the first correlation value.




Oscar C. Au, HIGH EFFICIENCY VIDEO CODING (HEVC) PRESENTATION at 33 (October 2013).

        131.    The MaxLinear-Amino ’376 Products calculate a correlation value based on the

neighborhood pixels as shown in the below excerpt from the HEVC specification.


                                               47
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       132.    A correlation value is compared by the MaxLinear-Amino ’376 Products to a

threshold value. Specifically, the HEVC Specification describes that the correlation value which

is generated as part of the output of the interpolation process is the (nPbW)x(nPbH) array

predSamplesLXL of prediction luma sample values.




Series H: Audio Visual and Multimedia Systems: Infrastructure of Audiovisual Services – Coding
of Moving Video, HIGH EFFICIENCY VIDEO CODING ITU-T REC. V.5 § 8.5.3.3.3.2 (February
2018).
       133.    The interpolation process implemented by the MaxLinear-Amino ’376 Products

uses the values that are assigned as part of the interpolation process if they are above a certain

threshold.




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Series H: Audio Visual and Multimedia Systems: Infrastructure of Audiovisual Services – Coding
of Moving Video, HIGH EFFICIENCY VIDEO CODING ITU-T REC. V.5 § I.8.5.3.3.3.2 (February
2018).

         134.   The MaxLinear-Amino ’376 Products set the value of a pixel to be created within

said generated field to be equal to the value of a corresponding pixel of said prior frame if the

correlation value is less than a threshold value. Specifically, the MaxLinear-Amino ’376 Products

use the pixel value of Ref0 or ReF2 (where Ref0 and Ref2 represent the prior and next frames in

the video stream). By way of example, the interpolation value will be discarded and the pixel

value of a prior frame based on inter prediction would be used instead of the interpolated value.

See Series H: Audio Visual and Multimedia Systems: Infrastructure of Audiovisual Services –

Coding of Moving Video, HIGH EFFICIENCY VIDEO CODING ITU-T REC. V.5 § 8.5.3.3.3.2 (February

2018).

         135.   The frames are then processed by the MaxLinear-Amino ‘376 Products using both

motion compensation and motion estimation. The motion compensation functionality used by the

MaxLinear-Amino ’376 Products include quarter-sample precision for the motion vectors and 7-

tap or 8-tap filters that are used for interpolation of fractional-sample positions.




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Standardized Extensions of High Efficiency Video Coding (HEVC), IEEE JOURNAL OF SELECTED
TOPICS IN SIGNAL PROCESSING, VOL. 7, NO. 6 at 1002 (December 2013) (emphasis added) (the
annotations showing (1) intra-picture prediction, (2) motion compensation, and (3) motion
estimation).

        136.       The MaxLinear-Amino ’376 Products calculate a correlation value from the values

of causal neighbor pixels of a generated field and from the values of corresponding neighbor pixels

of a next field.

        It can be seen from Fig. 5.4b that only motion vectors from spatial neighboring
        blocks to the left and above the current block are considered as spatial MVP
        candidates. This can be explained by the fact that the blocks to the right and below
        the current block are not yet decoded and hence, their motion data is not available.
        Since the co-located picture is a reference picture which is already decoded, it is
        possible to also consider motion data from the block at the same position, from
        blocks to the right of the co-located block or from the blocks below. In HEVC, the
        block to the bottom right and at the center of the current block have been determined
        to be the most suitable to provide a good temporal motion vector predictor (TMVP).
Benjamin Bross, et al., Inter-picture prediction in HEVC, in HIGH EFFICIENCY VIDEO CODING
(HEVC) at 119 (2014) (emphasis added).

        137.       The MaxLinear-Amino ’376 Products compare the correlation value with a

threshold value.

         Motion estimation compares the current prediction unit (PU) with the spatially
         neighboring PUs in the reference frames, and chooses the one with the least


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        difference to the current PU. The displacement between the current PU and the
        matching PU in the reference frames is signaled using a motion vector.
Sung-Fang Tsai, et al., Encoder Hardware Architecture for HEVC, HIGH EFFICIENCY VIDEO
CODING (HEVC) at 347 (September 2014) (emphasis added).

       138.      The MaxLinear-Amino ’376 Products set the value of a pixel to be created within

the generated field to be equal to the value of a corresponding pixel of the next field if the

correlation value is less than the threshold value.

       139.      MaxLinear and Amino have directly infringed and continue to directly infringe the

’376 Patent by, among other things, making, using, offering for sale, and/or selling technology for

motion compensated upconversion in a video image that uses motion compensation to generate an

interpolated video field using motion vectors, including but not limited to the MaxLinear-Amino

’376 Products.

       140.      By complying with the HEVC standard, the MaxLinear-Amino ’376 Products

necessarily infringe the ’376 Patent. The mandatory sections of the HEVC standard require the

elements required by certain claims of the ’376 Patent, including but not limited to claim 19 of the

’376 Patent. High Efficiency Video Coding, SERIES H: AUDIOVISUAL AND Multimedia SYSTEMS:

INFRASTRUCTURE OF AUDIOVISUAL SERVICES – CODING OF MOVING VIDEO REC. ITU-T H.265

(February 2018) (The following sections of the HEVC Standard are relevant to MaxLinear and

Amino’s infringement of the ‘376 patent: “8.3.2 Decoding process for reference picture set;” “8.5.4

Decoding process for the residual signal of coding units coded in inter prediction mode;” “8.6

Scaling, transformation and array construction process prior to deblocking filter process;” “8.5.2

Inter prediction process;” “8.5.3 Decoding process for prediction units in inter prediction mode;”

and “8.7.2 Deblocking filter process;” “8.7.3 Sample adaptive offset process.”).

       141.      By making, using, testing, offering for sale, and/or selling products and services for

motion compensated upconversion in a video image that uses motion compensation to generate an



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interpolated video field using motion vectors, including but not limited to the MaxLinear-Amino

’376 Products, MaxLinear and Amino have injured Dynamic Data and are liable to the Plaintiff

for directly infringing one or more claims of the ’376 Patent, including at least claim 19 pursuant

to 35 U.S.C. § 271(a).

       142.    MaxLinear and Amino have also indirectly infringed the ’376 Patent by actively

inducing infringement under 35 U.S.C. § 271(b).

       143.    MaxLinear and Amino have had knowledge of the ’376 Patent since at least service

of this Complaint or shortly thereafter, and on information and belief, MaxLinear and Amino knew

of the ’376 Patent and knew of their infringement, including by way of this lawsuit.

       144.    MaxLinear intended to induce patent infringement by third-party customers and

users of the MaxLinear-Amino ’376 Products and had knowledge that the inducing acts would

cause infringement or was willfully blind to the possibility that its inducing acts would cause

infringement. MaxLinear specifically intended and was aware that the normal and customary use

of the accused products would infringe the ’376 Patent. MaxLinear performed the acts that

constitute induced infringement, and would induce actual infringement, with knowledge of the

’376 Patent and with the knowledge that the induced acts would constitute infringement. For

example, MaxLinear provides the MaxLinear-Amino ’376 Products that have the capability of

operating in a manner that infringe one or more of the claims of the ’376 Patent, including at least

claim 19, and MaxLinear further provides documentation and training materials that cause

customers and end users of the MaxLinear-Amino ’376 Products to utilize the products in a manner

that directly infringe one or more claims of the ’376 Patent. 27 By providing instruction and training



27
 See, e.g., See, e.g., MaxLinear’s New Low-Cost USB Dongle Reference Design Brings Broadcast
HDTV to Latin American Consumers, MAXLINEAR PRESS RELEASE (August 14, 2014); Reference
Design from MaxLinear and STMicroelectronics to Speed Multi-Channel Ultra HD HEVC


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to customers and end-users on how to use the MaxLinear-Amino ’376 Products in a manner that

directly infringes one or more claims of the ‘’376 Patent, including at least claim 19, MaxLinear

specifically intended to induce infringement of the ’376 Patent. MaxLinear engaged in such

inducement to promote the sales of the MaxLinear-Amino ’376 Products, e.g., through MaxLinear

user manuals, product support, marketing materials, and training materials to actively induce the

users of the accused products to infringe the ’376 Patent. Accordingly, MaxLinear has induced

and continues to induce users of the accused products to use the accused products in their ordinary

and customary way to infringe the ’376 Patent, knowing that such use constitutes infringement of

the ’376 Patent.

       145.    Amino intended to induce patent infringement by third-party customers and users

of the MaxLinear-Amino ’376 Products and had knowledge that the inducing acts would cause

infringement or was willfully blind to the possibility that its inducing acts would cause

infringement. Amino specifically intended and was aware that the normal and customary use of

the accused products would infringe the ’376 Patent. Amino performed the acts that constitute

induced infringement, and would induce actual infringement, with knowledge of the ‘376 patent

and with the knowledge that the induced acts would constitute infringement. For example, Amino

provides the MaxLinear-Amino ’376 Products that have the capability of operating in a manner

that infringe one or more of the claims of the ’376 Patent, including at least claim 19, and Amino

further provides documentation and training materials that cause customers and end users of the



Satellite STB & Gateway Deployments, MAXLINEAR PRESS RELEASE (April 3, 2014); Reference
Design from MaxLinear and Realtek Targets 4K Ultra HD PVR Set-Top Box Market for Satellite
Pay-TV Operators, MAXLINEAR PRESS RELEASE (September 10, 2016); MxL692 Single-Chip
ATSC/QAM Tuner and Demodulator, MAXLINEAR PRODUCT BRIEF (September 2019); MxL241SF
Digital Cable Silicon Tuner + QAM Demodulator SoC, MAXLINEAR PRODUCT BRIEF (2009); and
MaxLinear’s Hybrid Satellite-Terrestrial Solution Presentation, MAXLINEAR PRESENTATION AT
THE CONSUMER ELECTRONICS SHOW 2014 (January 27, 2014).



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MaxLinear-Amino ’376 Products to utilize the products in a manner that directly infringe one or

more claims of the ’376 Patent. 28 By providing instruction and training to customers and end-

users on how to use the MaxLinear-Amino ‘376 Products in a manner that directly infringes one

or more claims of the ’376 Patent, including at least claim 19, Amino specifically intended to

induce infringement of the ’376 Patent. Amino engaged in such inducement to promote the sales

of the MaxLinear-Amino ’376 Products, e.g., through Amino user manuals, product support,

marketing materials, and training materials to actively induce the users of the accused products to

infringe the ’376 Patent. Accordingly, Amino has induced and continues to induce users of the

accused products to use the accused products in their ordinary and customary way to infringe the

’376 Patent, knowing that such use constitutes infringement of the ‘376 patent.

       146.    The ’376 Patent is well-known within the industry as demonstrated by multiple

citations to the ’376 Patent in published patents and patent applications assigned to technology

companies and academic institutions. MaxLinear and Amino are utilizing the technology claimed

in the ’376 Patent without paying a reasonable royalty. MaxLinear and Amino are infringing the

’376 Patent in a manner best described as willful, wanton, malicious, in bad faith, deliberate,

consciously wrongful, flagrant, or characteristic of a pirate.




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     See, e.g., Aria 6 Technical Specifications, AMINO WEBSITE, available at:
https://www.aminocom.com/products/amino-vu/client-devices/aria-6 (last visited November
2019); 4K Ultra HD & HEVC: Drive Customer Loyalty And Engagement With Vivid Details Of
4K Ultra HD, AMINO WEBSITE, available at: https://www.aminocom.com/solutions/4k-ultrahd-
hevc (last visited November 2019); Aria 6 Key Features, AMINO WEBSITE, available at:
https://www.aminocom.com/products/amino-vu/client-devices/aria-6 (last visited November
2019); Amino Unveils New 6 Series Range – A Comprehensive Portfolio Of 4K Ultra HD And
HEVC Hybrid TV Devices, AMINO PRESS RELEASE (January 21, 2016); Aria 6 User Guide, AMINO
DOCUMENTATION (2018); Aria 6 View CD C- Client Devices, AMINO DOCUMENTATION (2016);
and Aria 7 User Guide, AMINO DOCUMENTATION (2018).


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       147.     To the extent applicable, the requirements of 35 U.S.C. § 287(a) have been met

with respect to the ‘376 patent. As a result of MaxLinear and Amino’s infringement of the ’376

Patent, Dynamic Data has suffered monetary damages, and seeks recovery in an amount adequate

to compensate for MaxLinear and Amino’s infringement, but in no event less than a reasonable

royalty for the use made of the invention by MaxLinear and Amino with interest and costs as fixed

by the Court.


                                       PRAYER FOR RELIEF

WHEREFORE, Dynamic Data respectfully requests that this Court enter:

       A.       A judgment in favor of Dynamic Data that Defendants’ MaxLinear and

                Amino have infringed, either literally and/or under the doctrine of

                equivalents, the ‘944 and ‘376 Patents;

       B.       An award of damages resulting from Defendants’ acts of infringement in

                accordance with 35 U.S.C. § 284;

       C.       A judgment and order finding that Defendants’ infringement was willful,

                wanton, malicious, bad-faith, deliberate, consciously wrongful, flagrant, or

                characteristic of a pirate within the meaning of 35 U.S.C. § 284 and

                awarding to Dynamic Data enhanced damages.

       D.       A judgment and order finding that this is an exceptional case within the

                meaning of 35 U.S.C. § 285 and awarding to Dynamic Data its reasonable

                attorneys’ fees against Defendants.

       E.       Any and all other relief to which Dynamic Data may show themselves to be

                entitled.




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                                      JURY TRIAL DEMANDED

Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Dynamic Data Technologies, LLC

requests a trial by jury of any issues so triable by right.




 Dated: November 12, 2019                               BAYARD, P.A.

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